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        9                                 IN THE UNITED STATES BANKRUPTCY COURT

       10                                             EASTERN DISTRICT OF CALIFORNIA
       11
                                                             FRESNO DIVISION
       12
            In re                                                    CASE NO. 17-13797
       13
                TULARE LOCAL HEALTHCARE                              Chapter 9
       14       DISTRICT, dba TULARE REGIONAL
                MEDICAL CENTER,                                      DC No.: WJH-6
       15
                                Debtor.                              Date:        August 29, 2019
       16                                                            Time:        9:30 a.m.
                Tax ID #: XX-XXXXXXX                                 Place:       2500 Tulare Street
       17       Address: 869 N. Cherry Street                                     Fresno, CA 93721
                          Tulare, CA 93274                                        Courtroom 13
       18                                                            Judge:       Honorable René Lastreto II
       19
                MOTION FOR AUTHORITY TO BORROW AND GIVE SECURITY AND TO PROVIDE
       20
                  ADEQUATE PROTECTION (INSURANCE PREMIUM FINANCE AGREEMENT)
       21 TO THE HONORABLE JUDGE OF THE UNITED STATES BANKRUPTCY COURT:
       22             Tulare Local Healthcare District, dba Tulare Regional Medical Center (“Debtor” or “TRMC”)
       23 hereby files this Motion for Authority to Borrow and Give Security and to Provide Adequate
       24 Protection (“Motion”) which seeks an order pursuant to 11 U.S.C. §§ 362, 364, and 901, as
       25 complimented by FRBP 4001(c), 4001(d), and 6006, authorizing TRMC to enter into a Commercial
       26 Premium Finance Agreement (“Agreement”) with FIRST Insurance Funding (“FIRST”) by which
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            Motion for Authority to Borrow and Give                              M:\S-U\TRMC\PLEADINGS\WJH-6 Motion to Borrow and
            Security, etc.                                                                       Give Security\motion.071619.gaa.docx
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        1 TRMC would borrow funds to be used to finance insurance premiums as more fully described below,
        2 and to give security and provide adequate protection.
        3             This Motion is based on the Notice of Motion, Motion, the Declaration of Sandra Ormonde
        4 and exhibits thereto, the files, pleadings and orders on file in this Chapter 9 case, and such other and
        5 further evidence as made properly before the Court.
        6             TRMC respectfully requests that this Court enter an order pursuant to 11 U.S.C. §§ 362, 364
        7 and 901, as complimented by FRBP 4001(c), 4001(d), and 6006, authorizing TRMC to enter into the
        8 Agreement with FIRST and to perform all obligations thereunder, and to provide adequate protection
        9 as follows:
       10             1.        This case was filed as a Chapter 9 case on September 30, 2017 (“Petition Date”).
       11             2.        TRMC is a California healthcare district located in Western Tulare County.
       12             3.        TRMC is in the business of owning a hospital and other facilities. The hospital is
       13 leased to a third party.
       14             4.        As part of its operations, TRMC is required to maintain adequate insurance coverage.
       15 Without such coverages TRMC would be forced to cease operations.
       16             5.        Accordingly, TRMC seeks to finance insurance premiums by which certain property
       17 and casualty coverages are provided (“the Policies”).
       18             6.        The Policies are essential to TRMC’s business operations.
       19             7.        As of the date of this Motion the annual premiums for August 1, 2019 to July 30, 2020
       20 required under the Policies are $237,400. Of this sum TRMC is prepared to pay $59,350 which it has
       21 the cash to do.
       22             8.        This leaves $178,050 in premiums required under the Policies.
       23             9.        In order to secure payment of the remaining premium amounts required, TRMC is
       24 prepared to enter into and execute the Agreement with FIRST. A true and correct copy of the
       25
          Agreement is attached to the Declaration of Sandra Ormonde as Exhibit A.
       26
                 10.     The basic terms of the Agreement are as follows:
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                         A.      Lender – FIRST Insurance Funding.
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        1                       B.         Total Premiums, Taxes and Fees - $237,400;
        2                       C.         Down Payment - $59,350;
        3                       D.         Loan amount –$178,050;
        4                       E.         Interest Details –
        5                                  i.         Annual Percentage Rate – 6.250%
        6                                  ii.        Total interest paid - Approximately $4,668.81;
        7                       F.         Term of loan – 12 monthly payments;
        8                       G.         Installment Details –
        9                                  i.         $20,302.09 each;
       10                                  ii.        Due on the first of the month;
       11                                  iii.       Beginning on August 1, 2019;
       12                       H.         Use of funds – The funds from the loan will be used for insurance premiums on
       13 the Policies;
       14                       I.         Security – A first priority security interest in the Policies and any additional
       15 premiums required under the Policies, including all return premiums, dividend payments, and loss
       16 payments which reduce unearned premium.
       17                       J.         Attorney-In-Fact – FIRST is appointed as attorney-in-fact with irrevocable
       18 power to cancel the Policies in the event of default under the Agreement.
       19             11.       As shown by the Declaration of Sandra Ormonde filed concurrently, the cash down
       20 payments of $59,350 on this loan will be made from cash on hand.
       21             12.       Additionally, TRMC and FIRST have agreed that TRMC shall provide FIRST with
       22 adequate protection as follows (“Adequate Protection”):
       23                       A.         TRMC is authorized and directed to make timely payments due under the
       24 Agreement and FIRST is authorized to receive and apply such payments to the amounts owed by
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          TRMC to FIRST under the Agreement.
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                       B.     If TRMC fails to make any of the payments due under the Agreement as they
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          become due the automatic stay shall automatically lift to enable FIRST and/or third parties, including
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        1 insurance companies providing the coverage under the Policies, to take all necessary and appropriate
        2 actions to cancel the Policies, collect the collateral, and apply such collateral to the indebtedness owed
        3 to FIRST by TRMC under the Agreement. In exercising such rights, FIRST and/or third parties shall
        4 comply with the notice and other relevant provisions of the Agreement.
        5             13.       The terms of the Agreement and the Adequate Protection are commercially fair and
        6 reasonable in light of the circumstances including the granting of the security interest(s) described
        7 above to FIRST because TRMC is required to maintain adequate insurance coverage and without it
        8 would be forced to cease operations and because TRMC has been unable to obtain unsecured credit to
        9 fund the Policies.
       10             14.       The relief requested by this Motion is warranted and appropriate under the
       11 circumstances. TRMC submits that authorization of the Agreement will ensure that it can continue its
       12 necessary operations and will not prejudice the legitimate interests of creditors and other parties in
       13 interest.
       14             15.       TRMC requests waiver of BR 6004(g) relating to the 14 day stay.
       15             WHEREFORE, the Debtor prays for an order:
       16                   a) Authorizing the Debtor to borrow up to $178,050 from FIRST and to grant the security
       17                       interests in favor of FIRST described in the Motion;
       18                   b) Authorizing the Debtor to provide the Adequate Protection described in the Motion;
       19                      and
       20                   c) For such other and further relief as is just and proper.

       21
            Dated: July 16, 2019                             WANGER JONES HELSLEY, P.C.
       22
       23                                              By: _______________________________
                                                            Riley C. Walter,
       24
                                                            Attorneys for Debtor, Tulare Local Healthcare
       25                                                   District, dba Tulare Regional Medical Center

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